     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 1 of 10 Page ID #:265


 1     Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
       MANNING LAW, APC
 2     20062 S.W. Birch Street, Suite 200
 3     Newport Beach, CA 92660
       Office: (949) 200-8755
 4     DisabilityRights@manninglawoffice.com
 5

 6

 7     Attorney for Plaintiff: JAMES RUTHERFORD
 8

 9                             UNITED STATES DISTRICT COURT
10            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
11

12     JAMES RUTHERFORD, an                     Case No. 2:19-cv-01448-JAK-FFM
13     individual,                              First Amended Complaint For
14                Plaintiff,                    Damages And Injunctive Relief For:

15     v.                                        1. VIOLATIONS OF THE
16                                                  AMERICANS WITH DISABILITIES
                                                    ACT OF 1990, 42 U.S.C. §12181 et
17     USA GAS, a business of unknown               seq. as amended by the ADA
18     form; THRIFTY OIL CO., a                     Amendments Act of 2008 (P.L. 110-
       California corporation; and DOES 1-          325).
19     10, inclusive,
20                                               2. VIOLATIONS OF THE UNRUH
                       Defendants.                  CIVIL RIGHTS ACT, CALIFORNIA
21                                                  CIVIL CODE § 51 et seq.
22

23           Plaintiff, JAMES RUTHERFORD (“Plaintiff”), complains of Defendants
24     USA GAS, a business of unknown form; THRIFTY OIL CO., a California
25     corporation; and DOES 1-10 (“Defendants”) and alleges as follows:
26                                           PARTIES:
27
             1.     Plaintiff is an adult California resident. Plaintiff is substantially limited
28
       in performing one or more major life activities, including but not limited to:
                                                  1
                                   FIRST AMENDED COMPLAINT
     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 2 of 10 Page ID #:266


 1     walking, standing, ambulating, sitting, in addition to twisting, turning, and grasping
 2
       objects. As a result of these disabilities, Plaintiff relies upon mobility devices,
 3
       including at times a wheelchair, to ambulate. With such disabilities, Plaintiff
 4

 5     qualifies as a member of a protected class under the Americans with Disabilities Act,

 6     42 U.S.C. §12102(2) (“ADA”) and the regulations implementing the ADA set forth
 7     at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendant’s facility
 8
       and prior to instituting this action, Plaintiff suffered from a “qualified disability”
 9
       under the ADA, including those set forth in this paragraph. Plaintiff is also the
10

11     holder of a Disabled Person Parking Placard.

12             2.   Defendant THRIFTY OIL CO., a California corporation;, owned the

13     property located at 401 E 6th Street, Beaumont, California 92223 (“Property”) on

14     January 18, 2018 and May 17, 2018.

15             3.   Defendant THRIFTY OIL CO., a California corporation, owns the

16     Property currently.

17             4.   USA GAS, a business entity form unknown, owned, operated and

18     controlled the business of USA GAS (“Business”) on January 18, 2018 and May 17,

19     2018.

20             5.   USA GAS, a business entity form unknown, owns, operates and

21     controls the Business currently.

22             6.   Plaintiff does not know the true names of Defendants, their business

23     capacities, their ownership connection to the Property and Business, or their relative

24     responsibilities in causing the access violations herein complained of, and alleges a

25     joint venture and common enterprise by all such Defendants. Plaintiff is informed

26     and believes that each of the Defendants herein, including Does 1 through 10,

27     inclusive, is responsible in some capacity for the events herein alleged, or is a

28     necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
                                                   2
                                      FIRST AMENDED COMPLAINT
     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 3 of 10 Page ID #:267


 1     when the true names, capacities, connections, and responsibilities of the Defendants
 2     and Does 1 through 10, inclusive, are ascertained.
 3                                 JURISDICTION AND VENUE
 4            7.     This Court has subject matter jurisdiction over this action pursuant
 5     to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 6            8.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 7     claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 8     California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 9     federal ADA claims in that they have the same nucleus of operative facts and
10     arising out of the same transactions, they form part of the same case or controversy
11     under Article III of the United States Constitution.
12            9.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
13     Property which is the subject of this action is located in this district and because
14     Plaintiff’s causes of action arose in this district.
15                                  FACTUAL ALLEGATIONS
16            10.    Plaintiff went to the Business on or about January 18, 2018 and May
17     17, 2018 for the dual purpose of purchasing gasoline for his vehicle and to confirm
18     that this public place of accommodation is accessible to persons with disabilities
19     within the meaning of federal and state law.
20            11.    The Business, including the Property, is a facility open to the public, a
21     place of public accommodation, and a business establishment.
22            12.    Parking spaces are some of the facilities, privileges, and advantages
23     reserved by Defendants to persons patronizing the Business and Property.
24            13.    Unfortunately, although parking spaces were some of the facilities
25     reserved for patrons, there were barriers for persons with disabilities that cause the
26     named facilities to fail as to compliance with the Americans with Disability Act
27     Accessibility Guidelines (“ADAAG”) on or around January 18, 2018 and May 17,
28     2018, or at any time thereafter up to and including, the date of the filing of this First
                                                    3
                                      FIRST AMENDED COMPLAINT
     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 4 of 10 Page ID #:268


 1     Amended Complaint.
 2             14.      At each time, instead of having architectural barrier free facilities for
 3     patrons with disabilities, Plaintiff experienced the following at the Business and
 4     Property: parking spaces and access aisles serving them shall comply with 302.
 5     Access aisles shall be at the same level as the parking spaces they serve. Changes in
 6     level are not permitted; there is no accessible route connecting the parking to the
 7     main entrance or elements within the facility as required by Section 206.2.2 which
 8     requires that at least one accessible route shall connect accessible buildings,
 9     accessible facilities, accessible elements, and accessible spaces that are on the same
10     site; and, the sales counter does not provide for accessibility as required by Section
11     904.4.1 for either a parallel or forward approach. The accessible portion of the
12     counter top shall extend the same depth as the sales or service counter top per
13     Section 904.4.
14             15.      On May 8, 2019, a Certified Access Specialist (“CASp”) inspected the
15     Subject Property and identified the following barriers at the Business and Property1:
16     the accessible parking space at the west side of the Property contains an uneven
17     surface with slopes measuring between 3.8% and 5.0% (Section 502.4); the slope at
18     the accessible parking at the west side of the store contains an uneven surface with
19     slopes measuring between 2.5% and 4.4% (Section 502.4); the accessible parking
20     space at the west side of the measures 210 ½” in length, serving a 271” long access
21     aisle, which does not extend the full required length (Section 502.1; 502.2; 502.3.1);
22     there is a cross slope on the accessible route from the accessible parking area on the
23     west side of the store to the main entrance of the Business that measures between 2.2
24     and 3.0%, exceeding the maximum allowed (Section 403.3); and the van accessible
25     space at the east side of the store does not have accessible signage posted at the head
26     of the space (Section 502.6).
27             16.      Plaintiff is informed and believes and thereon alleges that, currently,
28     1
        See attached as Exhibit A the “CASp Inspection” prepared for the Subject Property by Kenneth Arrington, dated
       May 8, 2019.
                                                              4
                                              FIRST AMENDED COMPLAINT
     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 5 of 10 Page ID #:269


 1     there are no compliant, accessible Business facilities designed, reserved and
 2     available to persons with disabilities at the Business in addition to that alleged supra.
 3            17.   Plaintiff is informed and believes and thereon alleges that Defendants
 4     had no policy or plan in place to make sure that the parking spaces were compliant
 5     for persons with disabilities and remained compliant prior to January 18, 2018 and
 6     May 17, 2018.
 7            18.   Plaintiff is informed and believes and thereon alleges Defendants have
 8     no policy or plan in place to make sure that the complaints of violations alleged
 9     above are available to persons with disabilities and remain compliant currently.
10            19.   Plaintiff personally encountered above alleged barriers when attempting
11     to access the Business and Property. The presence of these barriers related to
12     Plaintiff’s disability denies Plaintiff his right to enjoy accessible conditions at public
13     place of accommodation and invades legally cognizable interests created under the
14     ADA.
15            20.   The conditions identified supra in paragraphs 14 and 15 are necessarily
16     related to Plaintiff’s legally recognized disability in that Plaintiff is substantially
17     limited in the major life activities of walking, standing, ambulating, sitting, and
18     grasping objects and is the holder of a disabled parking placard and because the
19     enumerated conditions relate to the use of the accessible parking, relate to the slope
20     and condition of the accessible parking and accessible path to the accessible
21     entrance, relate to the width of the accessible path to the accessible entrance, and
22     relate to the safety of the accessible path to the accessible entrance.
23            21.   As an individual with a mobility disability who at times relies upon a
24     wheelchair and other mobility devices, Plaintiff has a keen interest in whether public
25     accommodations have architectural barriers that impede full accessibility to those
26     accommodations by individuals with mobility impairments.
27            22.   Plaintiff is being deterred from patronizing the Business and its
28     accommodations on particular occasions, but intends to return to the Business for the
                                                  5
                                     FIRST AMENDED COMPLAINT
     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 6 of 10 Page ID #:270


 1     dual purpose of availing himself of the goods and services offered to the public and
 2     to ensure that the Business ceases evading its responsibilities under federal and state
 3     law.
 4            23.      As a result of his difficulty experienced because of the inaccessible
 5     condition of the facilities of the Business, Plaintiff was denied full and equal access
 6     to the Business and Property.
 7            24.      Upon being informed that the public place of accommodation has
 8     become fully and equally accessible, he will return within 45 days as a “tester” for
 9     the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
10     Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
11            25.      The Defendants have failed to maintain in working and useable
12     conditions those features required to provide ready access to persons with
13     disabilities.
14            26.      The violations identified above are easily removed without much
15     difficulty or expense. They are the types of barriers identified by the Department of
16     Justice as presumably readily achievable to remove and, in fact, these barriers are
17     readily achievable to remove. Moreover, there are numerous alternative
18     accommodations that could be made to provide a greater level of access if complete
19     removal were not achievable.
20            27.      Given the obvious and blatant violation alleged hereinabove, the
21     Defendants are on notice that Plaintiff seeks to have all barriers related to their
22     disabilities remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding
23     that once a plaintiff encounters one barrier at a site, he can sue to have all barriers
24     that relate to his disability removed regardless of whether he personally encountered
25     them).
26            28.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
27     alleges, on information and belief, that the failure to remove these barriers was
28     intentional because: (1) these particular barriers are intuitive and obvious; (2) the
                                                    6
                                       FIRST AMENDED COMPLAINT
     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 7 of 10 Page ID #:271


 1     defendants exercised control and dominion over the conditions at this location, and
 2     therefore, (3) the lack of accessible facilities was not an accident because had the
 3     defendants intended any other configuration, they had the means and ability to make
 4     the change.
 5           29.     Without injunctive relief,Plaintiff will continue to be unable to fully
 6     access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 7                                 FIRST CAUSE OF ACTION
 8     VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 9       42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
10                                          (P.L. 110-325)
11           30.     Plaintiff re-alleges and incorporates by reference all paragraphs alleged
12     above and each and every other paragraph in this First Amended Complaint
13     necessary or helpful to state this cause of action as though fully set forth herein.
14           31.     Under the ADA, it is an act of discrimination to fail to ensure that the
15     privileges, advantages, accommodations, facilities, goods, and services of any place
16     of public accommodation are offered on a full and equal basis by anyone who owns,
17     leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
18     Discrimination is defined, inter alia, as follows:
19                   a.    A failure to make reasonable modifications in policies, practices,
20                         or procedures, when such modifications are necessary to afford
21                         goods, services, facilities, privileges, advantages, or
22                         accommodations to individuals with disabilities, unless the
23                         accommodation would work a fundamental alteration of those
24                         services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
25                   b.    A failure to remove architectural barriers where such removal is
26                         readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
27                         defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
28                         Appendix "D".
                                                  7
                                      FIRST AMENDED COMPLAINT
     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 8 of 10 Page ID #:272


 1                  c.     A failure to make alterations in such a manner that, to the
 2                         maximum extent feasible, the altered portions of the facility are
 3                         readily accessible to and usable by individuals with disabilities,
 4                         including individuals who use wheelchairs, or to ensure that, to
 5                         the maximum extent feasible, the path of travel to the altered area
 6                         and the bathrooms, telephones, and drinking fountains serving
 7                         the area, are readily accessible to and usable by individuals with
 8                         disabilities. 42 U.S.C. § 12183(a)(2).
 9            32.   Any business that provides parking spaces must provide accessible
10     parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
11     shall be at the same level as the parking spaces they serve. Changes in level are not
12     permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
13     all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
14     Standards § 502.4 Advisory. Specifically, built up curb ramps are not permitted to
15     project into access aisles and parking spaces. Id. No more than a 1:48 slope is
16     permitted. Standards § 502.4.
17            33.   Here, the failure to ensure that accessible facilities were available and
18     ready to be used by Plaintiff is a violation of law.
19            34.   A public accommodation must maintain in operable working condition
20     those features of its facilities and equipment that are required to be readily accessible
21     to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
22            35.   Given its location and options, Plaintiff will continue to desire to
23     patronize the Business but he has been and will continue to be discriminated against
24     due to lack of accessible facilities and, therefore, seek injunctive relief to remove the
25     barriers.
26     ////
27     ////
28     ////
                                                  8
                                     FIRST AMENDED COMPLAINT
     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 9 of 10 Page ID #:273


 1                               SECOND CAUSE OF ACTION
 2     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL
 3                                       CODE § 51 et seq.
 4           36.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 5     above and each and every other paragraph in this First Amended Complaint
 6     necessary or helpful to state this cause of action as though fully set forth herein.
 7           37.    California Civil Code § 51 et seq. guarantees equal access for people
 8     with disabilities to the accommodations, advantages, facilities, privileges, and
 9     services of all business establishments of any kind whatsoever. Defendants are
10     systematically violating the UCRA, Civil Code § 51 et seq.
11           38.    Because Defendants violate Plaintiff’s rights under the ADA, they also
12     violated the Unruh Civil Rights Act and are liable for damages. (Civ. Code § 51(f),
13     52(a).) These violations are ongoing.
14           39.    Defendants’ actions constitute discrimination against Plaintiff on the
15     basis of their individual disabilities, in violation of the UCRA, Civil Code § 51 et
16     seq. Plaintiff is informed and believes and thereon alleges Defendants have been
17     previously put on actual notice that its premises are inaccessible to Plaintiff as above
18     alleged. Despite this knowledge, Defendants maintain the Property and Business in
19     an inaccessible form.
20                                            PRAYER
21     WHEREFORE, Plaintiff prays that this court award damages provide relief as
22     follows:
23           1.     A preliminary and permanent injunction enjoining Defendants from
24     further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
25     51 et seq. with respect to its operation of the Business and Subject Property; Note:
26     Plaintiff is not invoking section 55 of the California Civil Code and is not
27     seeking injunctive relief under the Disabled Persons Act at all.
28           2.     An award of actual damages and statutory damages of not less than
                                                  9
                                     FIRST AMENDED COMPLAINT
     Case 2:19-cv-01448-JAK-FFM Document 34 Filed 11/18/19 Page 10 of 10 Page ID #:274


 1     $4,000 per violation pursuant to § 52(a) of the California Civil Code and $4,000 for
 2     each time he visits an establishment that contains architectural barriers that deny the
 3     Plaintiff of full and equal enjoyment of the premises (Feezor v. Del Taco, Inc.
 4     (2005) 431 F.Supp.2d 1088, 1091.)
 5           3.     An additional award of $4,000.00 as deterrence damages for each
 6     violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 7     LEXIS 150740 (USDC Cal, E.D. 2016);
 8           4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 9     pursuant to 42 U.S.C. § 12205; California Civil Code § 52;
10                                DEMAND FOR JURY TRIAL
11           Plaintiff hereby respectfully request a trial by jury on all appropriate issues
12     raised in this First Amended Complaint.
13

14     Dated: August 12, 2019           MANNING LAW, APC
15

16                                      By: /s/ Joseph R. Manning Jr., Esq.
                                           Joseph R. Manning Jr., Esq.
17                                         Attorney for Plaintiff
18

19
20

21

22

23

24

25

26

27
28
                                                 10
                                     FIRST AMENDED COMPLAINT
